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     MICHAEL JAY BERGER (State Bar # 100291)
 1
     LAW OFFICES OF MICHAEL JAY BERGER
 2   9454 Wilshire Blvd. 6th Floor
     Beverly Hills, CA 90212-2929
 3   Telephone:     (310) 271-6223
     Facsimile:     (310) 271-9805
 4
     michael.berger@bankruptcypower.com
 5
     Attorney for Reorganized Debtor
 6   REDRHINO: The Epoxy Flooring Company, Inc.
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                    LOS ANGELES DIVISION

11                                         )           CASE NO.: 2:20-bk-20257-SK
     In re:                                )
12                                         )           Chapter 11
                                           )
13   REDRHINO: The Epoxy Flooring Company, )           CHAPTER 11 POST-CONFIRMATION
     Inc.,                                 )           STATUS REPORT #4; DECLARATION
14                                         )           OF MICHAEL D. KENEALY IN
                                           )           SUPPORT THEREOF
15              Reorganized Debtor.        )
                                           )
16                                         )
                                           )
17                                         )

18
19            TO THE HONORABLE SANDRA R. KLEIN, JUDGE OF THE UNITED STATES
20
     BANKRUPTCY COURT, THE OFFICE OF THE UNITED STATES TRUSTEE,
21
     SUBCHAPTER V TRUSTEE AND TO ALL INTERESTED PARTIES AND THEIR
22
     COUNSEL OF RECORD:
23
24            PLEASE TAKE NOTICE THAT the Reorganized SubChapter V Debtor, REDRHINO:

25   The Epoxy Flooring Company, Inc., (the “Reorganized Debtor”), hereby files its Fourth Post-
26
     Confirmation Status Report as follows:
27
28



                                                   1
                           CHAPTER 11 POST-CONFIRMATION STATUS REPORT #4
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             A.       Brief Procedural Introduction
 1
 2           On November 16, 2020 (the “Petition Date”), Debtor filed its bankruptcy petition under

 3   Chapter 11 of the Bankruptcy Code, as a SubChapter V case. On June 29, 2021, the Court
 4
     entered an order confirming Debtor’s SubChapter V Plan of Reorganization [docket no.: 90].
 5
             B.       Status of Plan Payments
 6
 7           The following chart lists each class of claims, the total amount required to be paid to each

 8   claimant under the SubChapter V Plan, the amount required to be paid as of the date of this
 9   report, the amount actually paid, and the deficiency, if any, in required payments.
10
11
     Effective Date          Total Amount          Total Amount          Deficiency in
12   July 13, 2021           Required to be        Paid as of            Required
                             Paid as of            December 15 1         Payments?
13                           December 15           2022
14                           2022
     ADMINISTRATIVE
15   CLAIMS

16   Law Offices of          $14,494.91            $14,494.91            No
     Michael Jay Berger
17   Jennifer Min Liu        $8,020.00             $8,020.00             No
     (CPA)
18   Gregory Jones           $8,125.00             $8,125.00             No.
     (SubChapter V
19   Trustee)
     SECURED
20   CREDITORS
     Pawnee Leasing          $4,778.10             $4,778.10             No.
21   Corporation, 3801
     Automation Way, Ste
22   207, Fort Collins, CO
     80525 [POC #8]
23
     On Deck Capital,        $18,000.00            $18,000.00            No
24   1400 Broadway, Ste
     2500, New York, NY
25   10018 [NO POC
     FILED]
26
27
28   1
      At the time of this Report, Reorganized Debtor has prepared checks to issue its monthly payments for December
     2022 under the Plan on December 15, 2022.


                                                            2
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     PRIORITY
 1   UNSECURED
     Internal Revenue        $7,823.52         $7,823.52       No
 2   Service
     P.O. Box 7346
 3   Philadelphia, PA
     19101-7346
 4   [POC #2]
 5   GENERAL
     UNSECURED
 6   CLAIMS
     PC Procrete             $1,389.92         $347.04         Business is no
 7   Resources, 2990 Red                                       longer operating.
 8   Hill Ave Unit C,
     Costa Mesa, CA
 9   92626 [POC #1]

10   1 West Capital LLC      $1,656.00         $1,656.00       No
     1250 E. Hallandale
11   Beach Blvd,, Suite
     903, Hallandale, FL
12   33009 [NO POC
     FILED]
13
     Internal Revenue        $367.20           $367.20         Paid in Full
14   Service
     P.O. Box 7346
15   Philadelphia, PA
     19101-7346
16   [POC #2]

17   California Internet,    $329.58           $329.58         No
     L.P. dba GEO.
18   Payment to be sent to
     Davis & Jones, LLC,
19   attn: Patrick R.
     Thesing, File No.
20   91188, 2521 Brown
     Blvd., Arlington, TX
21   76006 [POC #4]

22   AmTrust North           $379.80           $379.80         Paid in Full
     America, Inc. on
23   behalf of Wesco
     Insurance Company.
24   800 Superior Avenue
     East, 20th Floor,
25   Cleveland, OH 44114
     [POC #5]
26
     Firstlease, Inc.c/o     $287.82           $287.82         No
27   Hemar, Rousso &
     Heald, LLP, 15910
28   Ventura Blvd., 12th



                                                         3
                               CHAPTER 11 POST-CONFIRMATION STATUS REPORT #4
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     Fl, Encino, CA 91436
 1   [POC #6]
 2   Cardinal Equity, LLC,   $1,160.28        $1,160.28         No
     30 Wall St., 8th Fl.,
 3   New York, NY 10005
     [POC #7]
 4
     Liberty Mutual          $96.48           $96.48            Paid in Full
 5   175 Berkerkt Street
     Boston, MA 02116
 6   City of Vernon          $94.20           $94.20            Paid in Full
     4305 Santa Fe
 7
     Avenue
     Los Angeles, CA
 8
     90058
 9   On Deck Capital         $1,350.00        $1,350.00         No
     1400 Broadway, Ste
10   2500, New York, NY
     10018
11
12           C.      Post-Confirmation Tax Liabilities
13
             The Reorganized Debtor is current on its post-confirmation taxes.
14
             D.      Reorganized Debtor’s Ability to Comply with the Terms of the Plan
15
             Reorganized Debtor projects that its income will remain steady.
16
17           E.      Projected Date for Plan Consummation and Application for Final Decree

18           The Reorganized Debtor’s Plan calls for consummation by approximately July 2026.
19
     The Reorganized Debtor anticipates seeking a decree closing the case on an interim basis by
20
     December 15, 2022.
21
22                                                 LAW OFFICES OF MICHAEL JAY BERGER

23
24   Dated: 12/14/2022                      By:    /s/Michael Jay Berger
25                                                 Michael Jay Berger
                                                   Attorney for Reorganized Debtor
26                                                 REDRHINO: The Epoxy Flooring Company, Inc.,
27
28



                                                       4
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 1
                               DECLARATION OF MICHAEL D. KENEALY
 2
 3           I, Michael D. Kenealy, declare and state as follows:

 4           1.       I am the principal of the Reorganized Debtor herein, (“Reorganized Debtor”). I
 5   have personal knowledge of the facts set forth below and if called to testify as to those facts, I
 6
     could and would competently do so.
 7
             2.       On November 16, 2020 (the “Petition Date”), Debtor filed its bankruptcy petition
 8
 9   under Chapter 11 of the Bankruptcy Code, as a SubChapter V case. On June 29, 2021, the Court

10   entered an order confirming Debtor’s SubChapter V Plan of Reorganization [docket no.: 90].
11
             3.       The following chart lists each class of claims, the total amount required to be paid
12
     to each claimant under the Plan, the amount required to be paid as of the date of this report, the
13
     amount actually paid, and the deficiency, if any, in required payments.
14
15
16   Effective Date          Total Amount          Total Amount          Deficiency in
     July 13, 2021           Required to be        Paid as of            Required
17                           Paid as of            December 15 2         Payments?
18                           December 15           2022
                             2022
19   ADMINISTRATIVE
     CLAIMS
20
     Law Offices of          $14,494.91            $14,494.91            No
21   Michael Jay Berger
     Jennifer Min Liu        $8,020.00             $8,020.00             No
22   (CPA)
     Gregory Jones           $8,125.00             $8,125.00             No.
23   (SubChapter V
     Trustee)
24   SECURED
     CREDITORS
25   Pawnee Leasing          $4,778.10             $4,778.10             No.
     Corporation, 3801
26   Automation Way, Ste
     207, Fort Collins, CO
27
28   2
      At the time of this Report, Reorganized Debtor has prepared checks to issue its monthly payments for December
     2022 under the Plan on December 15, 2022.


                                                            5
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     80525 [POC #8]
 1
     On Deck Capital,        $18,000.00        $18,000.00      No
 2   1400 Broadway, Ste
     2500, New York, NY
 3   10018 [NO POC
     FILED]
 4
     PRIORITY
 5   UNSECURED
     Internal Revenue        $7,823.52         $7,823.52       No
 6   Service
     P.O. Box 7346
 7
     Philadelphia, PA
 8   19101-7346
     [POC #2]
 9
     GENERAL
10   UNSECURED
     CLAIMS
11   PC Procrete             $1,389.92         $347.04         Business is no
     Resources, 2990 Red                                       longer operating.
12   Hill Ave Unit C,
     Costa Mesa, CA
13   92626 [POC #1]

14   1 West Capital LLC      $1,656.00         $1,656.00       No
     1250 E. Hallandale
15   Beach Blvd,, Suite
     903, Hallandale, FL
16   33009 [NO POC
     FILED]
17
     Internal Revenue        $367.20           $367.20         Paid in Full
18   Service
     P.O. Box 7346
19   Philadelphia, PA
     19101-7346
20   [POC #2]

21   California Internet,    $329.58           $329.58         No
     L.P. dba GEO.
22   Payment to be sent to
     Davis & Jones, LLC,
23   attn: Patrick R.
     Thesing, File No.
24   91188, 2521 Brown
     Blvd., Arlington, TX
25   76006 [POC #4]

26   AmTrust North           $379.80           $379.80         Paid in Full
     America, Inc. on
27   behalf of Wesco
     Insurance Company.
28   800 Superior Avenue



                                                         6
                               CHAPTER 11 POST-CONFIRMATION STATUS REPORT #4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 POST-CONFIRMATION
STATUS REPORT #4; DECLARATION OF MICHAEL D. KENEALY IN SUPPORT THEREOF will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/14/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Counsel for Debtor: Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
Subchapter V Trustee: Gregory Kent Jones (TR) gjones@sycr.com,
smjohnson@sycr.com;C191@ecfcbis.com
U.S. Trustee Ron Maroko ron.maroko@usdoj.gov
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 12/14/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 12/14/2022, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Sandra R. Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

     12/14/2022                   Peter Garza                                                   /s/Peter Garza
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL:

SECURED CREDITORS:

1 West Capital LLC
1250 E. Hallandale Beach Blvd., Ste. 903
Hallandale, FL 33009

Firstlease, Inc.
1300 Virginia Dr., Ste., 450
Fort Washington, PA 19034

Firstlease, Inc.
c/o ADLI Law Group
444 South Flower St., Ste. 3100
Los Angeles, CA 90071

Firstlease, Inc.
c/o Hemar, Rousso & Head, LLP
15910 Ventra Blvd., 12th Fl.,
Encino, CA 91436

Firstlease, Inc.
1 Walnut Grove Dr., Ste. 300
Horsham, PA 19044 (Address from POC)

Libertas Funding LLC
382 Greenwich Ave
Greenwich, CT 06830

On Deck Capital
1400 Broadway, Ste. 2500
New York, NY 10018

On Deck Capital
4201 Wilson Blvd., Ste. 110-209
Arlington, VA 22203

Pawnee Leasing Corporation
700 Centre Ave
Fort Collins, CO 80526

Pawnee Leasing Corporation
3801 Automation Way, Ste. 207
Fort Collins, CO 80525 (Address from POC)

20 LARGEST UNSECURED CREDITORS:

City of Vernon
4305 Santa Fe Ave
Los Angeles, CA 90058

Platinum Rapid Funding Group, Ltd.
348 RXR Plaza
Uniondale, NY 11556


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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Windset Capital Corporation
4168 West 12600 South, 2nd Floor
Herriman, UT 84096

Jon-Don
400 Medinah Rd.
Roselle, IL 60172

PC Procrete Resources
2990 Red Hill Ave Unit C
Costa Mesa, CA 92626 (Address from POC)

MCI Foods Inc.
c/o Richard J. Cowles, Esq.
California Land Law
400 Oceangate Ste. 800
Long Beach, CA 90802

Second Chance Funding
461 Van Brunt St.
Brooklyn, NY 11231

Cardinal Equity, LLC
30 Wall St., 8th Fl.
New York, NY 10005 (Address from POC)

Altus
2400 Veterans Memorial Blvd., Ste.
Kenner, LA 70062

Kearns, Brinen and Monaghan, Inc.
20 E. Divisions St., 2nd Fl
Dover, DE 19901

National Liability & Fire Insurance
20 E. Division Street, 2nd Floor
Dover, DE 19901

Firstlease, Inc.
c/o Hemar, Rousso & Heald, LLP
15910 Ventura Blvd., 12th Fl
Encino, CA 91436

The LCF Group/Last Chance Funding
411 Hempstead Turpike
West Hempstead, NY 11552

Wesco Insurance
c/o McCarthy, Burgess, Wolff
26000 Cannon Rd.
Cleveland, OH 44146

California Internet, L.P. dba GEO
dba GeoLinks
251 Camarillo Ranch Rd.
Camarillo, CA 93012 (Address from POC)

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Avon Rent-a-Car
7080 Santa Monica Blvd.,
Los Angeles, CA 90038

Barclays Bank
10250 Constellation Blvd., #25
Los Angeles, CA 90067

ADP
PO Box 12513
1851 N Rester Dr.
El Paso, TX 79912

Liberty Mutual
175 Berkerly St.
Boston, MA 02116

PLS Check
800 Jorie Blvd., Ste. 200
Oak Brook, IL 60523

OTHER INTERESTED PARTIES:

ADP
400 Covina Blvd.,
San Dimas, CA 91773

AM Trust North America
c/o Maurice Wutscher LLP
23611 Chargin BLvd., Ste. 207

American Contractors Indemnity Co
801 S. Figueroa Ste., 700
Los Angeles, CA 90017 (Address from POC)

Appalachian Insurance Services
800 Oak Ridge Turnpike Ste. A-1000
Oak Ridge, TN 37830

Berkovitch & Bouskila, PPLC
Attn: Ariel Bouskila, Esq.
80 Broad St., Ste. 3303
New York, NY 10004

Cardinal Equity, LLC
c/o Mitchell Segal, Esq.
1010 Northern Blvd., Ste. 208
Great Neck, NY 11021

Dave Richmond
3301 Keeshen Dr.
Los Angeles, CA 90064

ERC
8014 Bayberry Rd.
Jacksonville, FL 32256

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Franchise Tax Board
Bankruptcy Section, MS: A-340
P O Box 2952
Sacramento, CA 95812-2952

GB Collects, LLC
1253 Haddonfield Berlin Rd.
Voorhees, NJ 08043-4847

IRS
P.O. Box 7346
Philadelphia, PA 19101 (Address from POC)

National Liability & Fire
PO Box 113247
Stamford, CT 06911

Penta Pacific
c/o Greg Jenkins
9500 Norwalk Blvd
Santa Fe Springs, CA 90670

ROJ Equity, LLC
352 7th Ave., Ste 907
New York, NY 10001

Suretec Indemnity Company
Attn: John Knox, Chairman and CEO
1330 Post Oak Blvd., Ste 1100
Houston, TX 77056-3309

Wesco Insurance Co.
800 Superior Ave E. 21st Fl
Cleveland, OH 44114

AM Trust North America
PO Box 650872
Dallas, TX 75265-0872

Americredit Financial Service DBA GM Finan
PO Box 183853
Arlington, TX 76096-3853

American Contractors Indemnity Co.
333 W. Hapden Ave, Ste. 815
Emglewood, CA 80110-2338




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
